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17 Attorneys for Defendants

18                                  UNITED STATES DISTRICT COURT

19                               NORTHERN DISTRICT OF CALIFORNIA

20                                          SAN JOSE DIVISION

21   INTERNATIONAL TECHNOLOGICAL                       )   Case No. 5:18-cv-06228-EJD
     UNIVERSITY FOUNDATION, INC.,                      )
22                                                     )   Hon. Edward J. Davila
                           Plaintiff,                  )
23                                                     )   RESPONSE TO ORDER TO SHOW CAUSE
             v.                                        )   RE SETTLEMENT
24                                                     )
     CHAD F. WOLF, in his official capacity as Acting )
25   Secretary of the Department of Homeland Security, )
     et al.,                                           )
26                                                     )
                           Defendants.                 )
27                                                     )

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     RESPONSE TO ORDER TO SHOW CAUSE RE SETTLEMENT
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 1          On August 12, 2020, Plaintiff, International Technological University Foundation, Inc. (“ITU”),

 2 and Defendants, Chad F. Wolf, in his official capacity as Acting Secretary of the Department of

 3 Homeland Security, United States of America, U.S. Department of Homeland Security, and U.S.

 4 Immigration and Customs Enforcement, Student and Exchange Visitor Program (together,

 5 “Defendants”) (hereafter collectively referred to as “the Parties”), filed a Notice of Settlement advising

 6 the Court that the Parties had reached a settlement in principle. ECF No. 59. On August 13, 2020, the

 7 Court issued an Order to Show Cause and directed the parties to file on or before October 19, 2020, a

 8 joint statement setting forth the status of settlement efforts as well as the amount of additional time

 9 necessary to finalize and file a dismissal. The parties respond as follows:

10          1.       Over the past two months, the Parties have exchanged several drafts of a settlement

11 agreement and have made substantial progress toward finalizing the agreement.

12          2.       The Parties have also been working to resolve a related issue, and expect to finalize a

13 resolution of that matter at the same time that they finalize the settlement agreement and dismissal in

14 this case.

15          3.       The Parties require additional time to address certain complexities and to obtain the

16 necessary approvals in order to finalize their settlement efforts.

17          4.       Based on their discussions, the Parties believe that additional time until November 30,

18 2020, will be necessary to finalize and file a dismissal. The Parties respectfully request that the Court

19 vacate the hearing scheduled for October 29, 2020, or reset it for a time after November 30, 2020.

20 Dated: October 19, 2020

21                                                    Respectfully Submitted,

22    MORRISON & FOERSTER LLP                          DAVID L. ANDERSON
                                                       UNITED STATES ATTORNEY
23
      By: /s/ Joshua Hill                              By: /s/ Michelle Lo
24        JOSHUA HILL JR.                                  Michelle Lo
                                                           Assistant United States Attorney
25         Attorneys for Plaintiff                         Attorneys for Federal Defendants
           INTERNATIONAL
26         TECHNOLOGICAL UNIVERSITY
           FOUNDATION, INC.
27

28 RESPONSE TO ORDER TO SHOW CAUSE RE SETTLEMENT
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 1                                           ECF ATTESTATION

 2          In accordance with Civil Local Rule 5(i)(3), I, Michelle Lo, attest that I have obtained

 3 concurrence in the filing of this document from the other signatory listed here.

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28 RESPONSE TO ORDER TO SHOW CAUSE RE SETTLEMENT
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